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                                                                                                              FILED

                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA                                       n, %n0 , ,      A ... u i
                                           ALEXANDRIA DIVISION
                                           ALEXANDRIA DIVISION                                       28CT APR I * A "' 4 *
  ESTA M. CHENOWITH,                                    )

           Plaintiff,                                   )




                                                       )         Case No. / * Cf\
 TARGET STORES, INC.,                                  )                             ^"^

 and                                                   )


 TARGET CORPORATION,                                   )

          Defendants.                                  )



                                           NOTICE OF REMOVAT


          Defendant Target Corporation1, which is licensed to do business in Virginia as Target

 Stores, Inc. ("Target"), by counsel, pursuant to 28 U.S.C.S. § 1332,28 U.S.C.S. § 1441 and 28

U.S.C.S. § 1446, states as follows for its Notice of Removal:

 1.       This action is a civil action within the meaning of the Acts of Congress relating to the

removal of cases.


2.        This action was initiated in the Circuit Court of City of Winchester on May 2, 2006, with

the filing of a Complaint, Case No. 2006-L-186. In Plaintiffs Complaint, Plaintiff seeks a

judgment in the amount of $500,000.00 against Target, exclusive of attorneys' fees, interest, and

costs. See Complaint, attached as Exhibit A.

3.       Target was served with the Complaint on March 21,2007.


1 Plaintiff improperly names Target Stores, Inc. as the defendant in this action. Target Stores is an unincorporated
division of Target Corporation. Target Corporation, which does business as Target Stores is the only proper
defendant in this action.                                                                            Jv   v
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 4.      For removal purposes, this action commenced on March 21,2007, upon the acceptance of

 service of the Complaint by defendant Target.

 5.      The amount in controversy exceeds seventy-five thousand dollars ($75,000.00), exclusive

 of interest and costs. See Exhibit A.


 6.     Upon information and belief and based on allegations in Plaintiffs Complaint, Plaintiff is,

 and was at the time of the commencement of this action, a resident of the Commonwealth of

 Virginia.


 7.     Target is, and was at the time of commencement of this action for removal purposes, a

Minnesota corporation with its principal place of business in Minneapolis, Minnesota.

8.      Complete diversity exists between Plaintiff and Defendant and the Defendant is not a

citizen of the forum state.


9.      Thus, this matter is a civil action over which this Court has diversity jurisdiction pursuant

to 28 U.S.C.S. § 1332 and which is removable to this Court pursuant to 28 U.S.C.S. § 1441.

10.     Removal of this action is proper under 28 U.S.C.S. § 1446 because:

        a.     this Notice of Removal is being filed within thirty (30) days after acceptance of

service of the Complaint by Target on March 21, 2007;

        b.     this Notice of Removal is being filed within one (1) year of March 21,2007, the

date of commencement of the action for removal purposes;

       c.      Defendant has not previously sought similar relief; and

       d.      a copy of all process pleadings and orders served upon Defendant are attached as

Exhibit A.


11.    Because complete diversity exists between Plaintiff and Target and the amount in

controversy exceeds the jurisdictional amount required by 28 U.S.C. § 1332, this Court is vested
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with subject matter jurisdiction over this action and the case is properly removable under 28

U.S.C. § 1441 (b) (requiring removal within 30 days after service of process).

 12.    A true and correct copy of this Notice of Removal will be served upon all parties of this

action and the Circuit Court for the City of Winchester, promptly after the filing of this Notice,

in accordance with the certificate set forth below and with the requirements of law. The clerk of

the aforesaid State Court shall effect the removal, and the State Court shall proceed no further

unless the case is remanded, as provided by law.

13.    Venue for removal of this action to this Court is proper.

14.    Target reserves the right to amend or supplement this Notice of Removal.

15.    If any questions arise as to the propriety of the removal of this action, Defendant requests

the opportunity to present a brief and argument in support of its position that this case is

removable.


       WHEREFORE, on this >u            day of April, 2007, defendant Target Corporation prays

that the above-titled state court action, now pending in the Circuit Court for the City of

Winchester, Virginia, bearing Case Number 2006-L-186, be removed to the United States

District Court for the Eastern District of Virginia, Alexandria Division.

                                              TARGET CORPORATION



                                                           ounsel


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McLean, Virginia 22102
Telephone: (703) 734-4334
Facsimile: (703) 734-4340
Counsel for Target Corporation



                                    CERTIFICATE OF SERVICE

I hereby certify that on this j0_ day of April, 2007, a true copy of the foregoing was mailed via

Federal Express next business day delivery, postage prepaid, addressed as follows:


         Nate L. Adams, III, Esquire
         Nate L. Adams, III, P.C.
         Adams and Jones, P.L.C.
         11 South Cameron Street
         Winchester, Virginia 22601




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                                VIRGINIA:


                                        IN THE CIRCUIT COURT FOR THE CITY OF WINCHESTER

                                ESTA M. CHENOWETH


                                        Plaintiff


                                v.                                                     Case Number 0{p~
                                TARGET STORES, INC.
                                Serve: CT Corporation System, Registered Agent
                                        4701 Cox Rd, Ste 301
                                        Glen Allen, VA 23060-6802


                                TARGET CORPORATION
                                Serve: CT Corporation System, Registered Agent
                                       4701 Cox Rd, Ste 301
                                        Glen Allen, VA 23060-6802


                                        Defendants


                                                                       COMPLAINT


                                        COMES NOW the Plaintiff, Esta M. Chenoweth, by counsel, moves for judgment

                                 against Defendants, Target Stores, Inc. and Target Corporation, jointly and severally, on the

                                 grounds and in the amount as hereinafter set forth:

                                        1. On or about May 5, 2004, the Plaintiff, Esta M. Chenoweth, was lawfully on the

                                 premises owned and/or operated by the Defendants, Target Stores, Inc. and Target

                               ! Corporation, located at 2340 Legge Boulevard, City of Winchester, Virginia, as a business

                                 invitee of the Defendant.

    Atlt'KNOS At |.«V
                                        2. The Defendants, Target Stores, Inc. and Target Corporation, are corporations
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                                 organized under the laws of the State of Minnesota.


                                        3. As the owners and operators of said store, a place of business to which the general




                                                                                                                   EXHIBIT


                                                                                                                    A
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                public is invited, the Defendants, Target Stores, Inc. and Target Corporation, their agents and

                employees had a duty at that time to maintain the premises in a reasonably safe condition,

                to make reasonable inspections to determine whether any latent defects existed, and to warn

                the public of any such latent defects known to it, its agents and employees.

                        4. Notwithstanding said duty, the Defendants, Target Stores, Inc., and Target

                Corporation, their agents and employees, negligently operated and maintained an automatic
                door into said premises through which business invitees of the store customarily passed while

                entering the premises. The Defendants, their agents and employees, knew, or in the exercise
                of reasonable care should have known, that said defect existed.

                       5. On or about the 5th day of May, 2004, the Plaintiff, Esta M. Chenoweth, a business

                invitee of the Defendants, was entering the building owned and operated by Target Stores,

               Inc. and Target Corporation, through the automatic doors located at the entrance to the

               building. As a direct and proximate result of the negligence of the Defendants, their agents

               and/or employees, as aforesaid, the doors closed quickly and powerfully, striking the Plaintiff

               and knocking her over into ATM equipment placed there by the Defendants, their agents, or
               employees, and ultimately to the ground.


                       6. As a direct and proximate result of the negligence of the Defendants, their agents,

               or employees, the Plaintiff sustained serious bodily injury and resulting pain and suffering,
               disability, disfigurement, mental anguish, loss of the capacity for the enjoyment of life,

,.^ SfKfcfcl   expense of hospitalization, and medical and nursing care and treatment. The losses are either
               permanent or continuing and Plaintiff will suffer the losses in the future.
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                                          WHEREFORE, the Plaintiff, Esta M. Chenoweth, demands judgment against the

                              Defendants, Target Stores, Inc. and Target CorporationJointly and severally, in the amount

                              of Five Hundred Thousand Dollars ($500,000.00), prejudgment interest from May 5,2004.

                              attorneys fees, and her costs expended in this action.



                                                                                                                                ..




                                                                                 SANDRA CHENOWETH,
                                                                                 As Power of Attorney for
                                                                                 ESTA M. CHENOWETH




                              Nate E. Adams,
                              VSBNo.207,e "
                              Nate L.
                              ADAMS AND JONES, P.L.C.
                              11 South Cameron St.
                              Winchester, VA 22601
                              (540) 667-1330
                              (540) 667-7165 Facsimile
                                          Counsel for Plaintiff"



                              COMMONWEALTH OF VIRGINIA. AT LARGE,
                              CITY OF WINCHESTER, to-wit:


                                          *>    / ii/Vi.//? v") -^rAuir ^        a Notary Public in and for the State and
                              jurisdiction aforesaid, do hereby certify that Sandra Chenoweth, whose name is signed to
                              the foregoing Power of Attorney, bearing date on the t"H           day of *f)(a ^/            .
                              3.'Ci.tf         . have acknowledged the same before me in my State and jurisdiction aforesaid.

                                      SUBSCRIBED, SWORN TO and ACKNOWLEDGED before me, a Notary
                              Public in and for the State and City aforesaid, this /^ day of May, 2006.
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                                          My Commission expires          //. ■ .^/-    O
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